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           EXHIBIT A
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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

              Plaintiff,

      v.                                                        Case No. 18-CR-228

WAYNE D. GRILLS,

              Defendant.



                   REPORT AND RECOMMENDATION
            ON DEFENDANT’S MOTION TO DISMISS COUNT FOUR



      On June 9, 2018, the police arrested Wayne D. Grills inside his garage for

allegedly kidnapping his ex-girlfriend, A.L.K., from her home in Greendale,

Wisconsin, and driving her to his residence in Melrose Park, Illinois. After Mr.

Grills was removed from the scene, the police located a firearm A.L.K. said Grills

used during the kidnapping and had her hide inside his backyard doghouse. A few

months later, Mr. Grills was indicted in federal court for kidnapping A.L.K.,

sexually assaulting A.L.K. while traveling across state lines, unlawfully possessing

a firearm, and attempting to persuade A.L.K. to recant her statement and drop the

charges. See Indictment, ECF No. 1.

      Mr. Grills has moved to dismiss the victim-tampering count, arguing that the

Indictment fails to allege an essential element of the offense. See Defendant’s




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Motion to Dismiss Count Four, ECF No. 18; Defendant’s Omnibus Reply in Support

of Pretrial Motions at 16–18, ECF No. 24. Count Four charges Mr. Grills with

violating 18 U.S.C. § 1512(b)(3). See Indictment at 4. That statute provides that,

      [w]hoever knowingly uses intimidation, threatens, or corruptly
      persuades another person, or attempts to do so, or engages in
      misleading conduct toward another person, with intent to . . . hinder,
      delay, or prevent the communication to a law enforcement officer or
      judge of the United States of information relating to the commission or
      possible commission of a Federal offense . . . shall be fined under this
      title or imprisoned not more than 20 years, or both.

§ 1512(b)(3). Count Four of the Indictment tracks the language of § 1512(b)(3),

except it doesn’t contain the phrase “of the United States.” See Indictment at 4. Mr.

Grills maintains that this omission is fatal because the statute requires that he act

with the intent “to interfere with a communication to a federal law enforcement

officer or judge.” Def.’s Mot. at 1 (emphasis added). According to the government,

including the words “of the United States” is not necessary to allege a violation of

the federal victim-tampering statute. See Government’s Response to Defendant’s

Motion to Dismiss Count Four, ECF No. 19.

      An “indictment . . . must be a plain, concise, and definite written statement of

the essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). To be

legally sufficient, an indictment “must identify the elements of the crime, fairly

inform the defendant of the charge so that he may prepare a defense, and enable

the defendant to evaluate any double jeopardy problems.” United States v. Phillips,

645 F.3d 859, 861 (7th Cir. 2011) (citing Hamling v. United States 418 U.S. 87, 117–

18 (1974); United States v. Glecier, 923 F.2d 496, 499 (7th Cir. 1991)). “In setting



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forth the offense, it is generally acceptable for the indictment to ‘track’ the words of

the statute itself, so long as those words expressly set forth all the elements

necessary to constitute the offense intended to be punished.” United States v. Smith,

230 F.3d 300, 305 (7th Cir. 2000) (citing United States v. Hinkle, 637 F.2d 1154,

1157 (7th Cir. 1981)).

      “To successfully challenge the sufficiency of an indictment, a defendant must

demonstrate that the indictment did not satisfy one or more of the required

elements and that he suffered prejudice from the alleged deficiency.” United States

v. Vaughn, 722 F.3d 918, 925 (7th Cir. 2013) (citing United States v. Dooley, 578

F.3d 582, 589–90 (7th Cir. 2009)). “The test for validity is not whether the

indictment could have been framed in a more satisfactory manner, but whether it

conforms to minimal constitutional standards.” Vaughn, 722 F.3d at 925 (quoting

United States v. Hausmann, 345 F.3d 952, 955 (7th Cir. 2003)). In assessing the

sufficiency of an indictment, courts are to review the document in its entirety,

giving it a “practical,” rather than a “hypertechnical,” reading. Smith, 230 F.3d at

305 (citing United States v. McNeese, 901 F.2d 585, 602 (7th Cir. 1990)).

      The phrase “of the United States” establishes the federal nexus for the

victim-tampering statute and, therefore, is an essential element of a § 1512

prosecution. See Fowler v. United States, 563 U.S. 668, 670 (2011) (holding that “the

Government must show that there was a reasonable likelihood that a relevant

communication would have been made to a federal officer”); United States v. Snyder,

865 F.3d 490, 496 (7th Cir. 2017) (“By specifying officer ‘of the United States,’



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§ 1512 requires showing a reasonable likelihood that the victim would have

communicated with a federal officer, not a state or local officer.”); Pattern Criminal

Jury Instructions of the Seventh Circuit (2012 ed.) (identifying the third element as:

“The defendant acted with the intent to hinder, delay or prevent the communication

of information to [a law enforcement officer of the United States or judge of the

United States]”).

      Count Four of the Indictment does not allege that Mr. Grills intended to

interfere with a communication to a federal law enforcement officer. Nor does it

substantially state this element in any other form. See United States v.

Weatherspoon, 581 F.2d 595, 600 (7th Cir. 1978) (citations and quotation marks

omitted) (“[I]n determining whether an essential element of the crime has been

omitted from the charge, courts will not insist that any particular word or phrase

. . . be used. The element may be alleged in any form which substantially states it.”).

      According to the government, “the witness tampering statute does not require

the Government to establish the defendant’s state of mind as it relates to the

existence of a Federal proceeding or the fact that a law enforcement officer is in fact

a Federal officer.” Govt’s Resp. at 3 (citing 18 U.S.C. § 1512(g)). That is an accurate

recitation of the law. But § 1512(g) does not absolve the government from

establishing the jurisdictional element altogether. Likewise, the jurisdictional

nexus is still an element of the offense, even though it demands a lower burden of

proof (reasonable likelihood) than traditional elements (beyond a reasonable doubt).




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      Because the Indictment fails to identify all the elements necessary to

constitute a violation of § 1512(b)(3), the Court will recommend that Mr. Grills’s

motion to dismiss Count Four be granted.

      NOW, THEREFORE, IT IS HEREBY RECOMMENDED that Defendant’s

Motion to Dismiss Count Four, ECF No. 18, be GRANTED.

      Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), Fed. R. Crim. P.

59(b), and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of service

of this Recommendation. Objections are to be filed in accordance with the Eastern

District of Wisconsin’s electronic case filing procedures. Failure to file a timely

objection with the district judge shall result in a waiver of your right to appeal. If no

response or reply will be filed, please notify the Court in writing.

      Dated at Milwaukee, Wisconsin, this 22nd day of July, 2019.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




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